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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )            CASE NO. CR06-197-RSL
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   CHADWICK QUENTON SMITH               )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:

15          Conspiracy to Distribute Heroin, Forfeiture Allegation

16 Date of Detention Hearing:     July 17, 2006

17          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

18 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

19 that no condition or combination of conditions which defendant can meet will reasonably assure

20 the appearance of defendant as required and the safety of other persons and the community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          (1)    Defendant is charged with a drug offense for which the maximum penalty exceeds

     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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01 ten years. There is, therefore, a rebuttable presumption of flight risk and dangerousness under 18

02 U.S. C. §3142(e).

03          (2)     Defendant’s criminal history includes prior theft and drug charges, with multiple

04 warrants issued for failure to appear for hearing. It appears from the defendant’s criminal record

05 that his participation in drug court in the King County Superior Court was unsuccessful due to

06 failure to successfully complete drug treatment. Most recently, the defendant either walked away

07 from or was terminated from the William Booth Center where he was in drug treatment. He states

08 that he left because of a disagreement about the imposition of urinalysis testing. The AUSA

09 proffers he was terminated for drug use. He is a current methadone user and the record indicates

10 other drug use as well.

11          (3)     The defendant does not have a stable employment history. Most recently, he has

12 been living in his car and with a friend.

13          (4)     The defendant has a number of mental health issues. He reports that he was offered

14 mental health counseling at the William Booth Center but did not follow through with it.

15          (5)     Nothing in the record effectively rebuts the presumption that no condition or

16 combination of conditions will reasonably assure the appearance of the defendant as required and

17 the safety of the community.

18          (6)     There does not appear to be any condition or combination of conditions that will

19 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

20 to other persons or the community.

21 It is therefore ORDERED:

22          (1)     Defendant shall be detained pending trial and committed to the custody of the

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01                Attorney General for confinement in a correction facility separate, to the extent

02                practicable, from persons awaiting or serving sentences or being held in custody

03                pending appeal;

04         (2)    Defendant shall be afforded reasonable opportunity for private consultation with

05                counsel;

06         (3)    On order of a court of the United States or on request of an attorney for the

07                Government, the person in charge of the corrections facility in which defendant is

08                confined shall deliver the defendant to a United States Marshal for the purpose of

09                an appearance in connection with a court proceeding; and

10         (4)    The clerk shall direct copies of this Order to counsel for the United States, to

11                counsel for the defendant, to the United States Marshal, and to the United States

12                Pretrial Services Officer.

13         DATED this 17th day of July, 2006.



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15                                              Mary Alice Theiler
                                                United States Magistrate Judge
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     DETENTION ORDER                                                                        15.13
     18 U.S.C. § 3142(i)                                                                 Rev. 1/91
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